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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON


 LAURA HANSON,                                     Case No. 3:21-CV-00780-SI

                Plaintiff,

        v.

 STATE OF OREGON LEGISLATIVE                       PLAINTIFF’S REPLY IN SUPPORT OF
 ASSEMBLY,                                         PLAINTIFF’S MOTION IN LIMINE

                 Defendant.


  I.   Plaintiff’s Motion in Limine to Ask Leading Questions in the Direct Examination of
       Sara Gelser-Blouin, Kham Pham, Jessica Knieling, and Jackie Sandmeyer.

       Defendant’s argument that “Plaintiff provides not one scintilla of factual support that, for

any of these four, let alone all of these four, they would respond in a hostile manner to any

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questioning and not respond fully and truthfully” misses the mark of the Fed. R. Evid. 611(c) and

Plaintiff’s argument in support of her motion. All four parties are “witnesses identified with an

adverse party” and Plaintiff is entitled to ask leading questions pursuant to Fed. R. Evid.

611(c)(2).

 II.   Plaintiff’s Motion in Limine to Exclude Improper Evidence, Argument, or

       Reference of Character.

       Defendant argues this motion is premature, however, several of the witnesses on

Defendant’s witness list have been identified to testify only to the character of Sen Gelser-Blouin

which is improper character evidence. See ECF No. 94 at 9-11, ECF No. 118 at 4-6. Thus, this

motion is not premature and Plaintiff requests that improper evidence, argument, testimony, and

witnesses who will only testify to character viz a viz past actions taken by Sen. Gelser-Blouin, be

excluded.

       Submitted this 25th Day of April, 2024.

                                                _/s Rebecca Cambreleng_____________
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                             CERTIFICATE OF SERVICE
        I certify that on April 25, 2024, I served the foregoing PLAINTIFF’S REPLY IN

SUPPORT OF PLAINTIFF’S MOTION IN LIMINE upon the parties hereto via electronic

means through the Court’s Case Management/Electronic Case File system and via electronic

mail:

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